         Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 1 of 46




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


                                                           )
In re:                                                     ) Chapter 11
                                                           )
ANAGRAM HOLDINGS, LLC, et al.,1                            ) Case No. 23-90901 (MI)
                                                           )
                 Debtors.                                  ) (Jointly Administered)
                                                           )


                         STATEMENT OF FINANCIAL AFFAIRS FOR
                       ANAGRAM HOLDINGS, LLC (CASE NO. 23-90901)




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Anagram Holdings, LLC (8535); Anagram International, Inc. (2523) and Anagram International
    Holdings, Inc. (5837). The location of the Debtors’ service address for purposes of these chapter 11 cases is:
    7700 Anagram Drive, Eden Prairie, MN 55344. For the avoidance of doubt, the Debtors’ chapter 11 cases are
    not proposed to be consolidated with Party City Holdco Inc. and its affiliate debtors (collectively, “Party City”)
    which emerged from chapter 11 cases in this Court on October 12, 2023. See In re Party City Holdco Inc., et.
    al., Case No. 23-90005 (MI) (Bankr. S.D. Tex). Any reference herein to the Debtors does not include the
    debtor-entities that were administered in the Party City chapter 11 cases.
             Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 2 of 46




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                 )
    In re:                                                       )        Chapter 11
                                                                 )
                                                   1
    ANAGRAM HOLDINGS, LLC, et al.,                               )        Case No. 23-90901 (MI)
                                                                 )
                                        Debtors.                 )        (Jointly Administered)
                                                                 )

                             GLOBAL NOTES AND
                 STATEMENT OF LIMITATIONS, METHODOLOGY,
            AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Anagram Holdings, LLC (“Anagram”) and its direct and indirect subsidiaries, as debtors and
debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) have filed
their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements,” and together with the Schedules, the “Schedules and Statements”) in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”).
The Debtors’ management, with the assistance of their advisors, prepared the Schedules and
Statements in accordance with section 521 of title 11 of the United States Code (the “Bankruptcy
Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
rule 1007-1 of the Bankruptcy Local Rules for the Southern District of Texas
(the “Bankruptcy Local Rules”).

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
                    2
(the “Global Notes”) pertain to, are incorporated by reference in, and constitute an integral part

1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Anagram Holdings, LLC (8535); Anagram International, Inc. (2523) and Anagram International
     Holdings, Inc. (5837). The location of the Debtors’ service address for purposes of these chapter 11 cases is: 7700
     Anagram Drive, Eden Prairie, MN 55344. For the avoidance of doubt, the Debtors’ chapter 11 cases are not
     proposed to be consolidated with Party City Holdco Inc. and its affiliate debtors (collectively, “Party City”) which
     emerged from chapter 11 cases in this Court on October 12, 2023. See In re Party City Holdco Inc., et. al., Case
     No. 23-90005 (MI) (Bankr. S.D. Tex). Any reference herein to the Debtors does not include the debtor-entities that
     were administered in the Party City chapter 11 cases.
2    These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
     Statements. The fact that the Debtors have prepared a Global Note with respect to any of Debtor’s individual
     Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
     exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
     appropriate. Disclosure of information in one Schedule, one Statement, or an exhibit or attachment to a Schedule
     or Statement, even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement, exhibit,
     or attachment.
       Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 3 of 46




of all of the Debtors’ Schedules and Statements. The Global Notes should be referred to,
considered, and reviewed in connection with any review of the Schedules and Statements. To the
extent that the Schedules and Statements conflict with these Global Notes, these Global Notes shall
control.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of the Schedules
and Statements under the circumstances, based on information available at the time of preparation,
subsequent information or discovery may result in material changes to the Schedules and
Statements. As a result, inadvertent errors or omissions may exist. The Schedules and Statements
are unaudited and subject to potential adjustment. Because the Schedules and Statements contain
unaudited information and remain subject to further review, verification, and potential adjustment,
there can be no assurance that the Schedules and Statements are complete. For the avoidance of
doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules and
Statements as may be necessary or appropriate and nothing contained in the Schedules and
Statements shall constitute a waiver of any right of the Debtors to amend or supplement the
Schedules and Statements from time to time, as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly
do not undertake any obligation to update, modify, revise, or re-categorize the information
provided herein or to notify any third party should the information be updated, modified, revised,
or re-categorized, except as required by applicable law. In no event shall the Debtors or their
agents, attorneys, and financial advisors be liable to any third party for any direct, indirect,
incidental, consequential, or special damages (including, but not limited to, damages arising from
the disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

         Christopher Wiles, Vice President Finance & Administration of Anagram and an
authorized signatory for each of the Debtors, has signed each set of the Schedules and Statements.
In reviewing and signing the Schedules and Statements, Mr. Wiles has necessarily relied upon the
efforts, statements, advice, and representations of various personnel employed by the Debtors and
the Debtors’ advisors. Mr. Wiles has not (and could not have) personally verified the accuracy of
each such statement and representation, including statements and representations concerning
amounts owed to creditors, classification of such amounts, and creditor addresses.

        The Schedules and Statements and Global Notes should not be relied upon by any persons
for information relating to current or future financial conditions, events, or performances of the
Debtors.




                                                 2
          Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 4 of 46




                                Global Notes and Overview of Methodology

1.        Description of Cases and “As Of” Information Date. On November 8, 2023,
          (the “Petition Date”), each of the Debtors filed voluntary petitions for relief under
          chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and
          managing their property as debtors in possession pursuant to sections 1107(a) and 1108 of
          the Bankruptcy Code.

          The Debtors’ chapter 11 cases are being jointly administered for procedural purposes only
          pursuant to Rule 1015(b) of the Bankruptcy Rules and Rule 1015-1 of the Local Rules
          under Case No. 23-90901 (MI). Notwithstanding the joint administration of the Debtors’
          cases for procedural purposes, each Debtor has filed its own Schedules and Statements. On
          November 20, 2023, the Office of the U.S. Trustee for the Southern District of Texas
          appointed the Official Committee of Unsecured Creditors. No trustee or examiner has been
          appointed in these chapter 11 cases.

          The asset information provided herein represents the asset data of the Debtors as of the
          close of business on October 31, 2023 (the “Reporting Date”), except as otherwise noted.
          The liability information provided herein represents the liability data of the Debtors as of
          the Petition Date, except as otherwise noted.

2.        Reservations and Limitations. Reasonable efforts have been made to prepare and file
          complete and accurate Schedules and Statements; however, as noted above, inadvertent
          errors or omissions may exist. The Debtors reserve all rights to: (a) amend and supplement
          the Schedules and Statements from time to time, in all respects, as may be necessary or
          appropriate, including the right to amend the Schedules and Statements with respect to the
                                                                                                   3
          description, designation, or Debtor against which any claim against a Debtor (“Claim”) is
          asserted; (b) dispute or otherwise assert offsets or defenses to any Claim reflected in the
          Schedules and Statements as to amount, liability, priority, status, or classification;
          (c) subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or
          (d) object to the extent, validity, enforceability, priority, or avoidability of any Claim
          (regardless of whether such Claim is designated in the Schedules and Statements as
          “disputed,” “contingent,” or “unliquidated”). Any failure to designate a Claim in the
          Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
          constitute an admission by the Debtors that such Claim or amount is not “disputed,”
          “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
          liability by the Debtor against which the Claim is listed or against any of the Debtors.
          Furthermore, nothing contained in the Schedules and Statements constitutes a waiver of
          any of the Debtors’ rights or an admission of any kind with respect to these chapter 11
          cases, including, but not limited to, any rights or Claims of the Debtors against any third
          party or issues involving Claims, substantive consolidation, equitable subordination, or
          defenses and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy
          Code or any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets

3    For the purposes of these Global Notes, the term “Claim” shall have the meaning set forth in section 101(5) of the
     Bankruptcy Code.



                                                           3
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 5 of 46




or avoid transfers. Any specific reservation of rights contained elsewhere in the Global
Notes does not limit in any respect the general reservation of rights contained in this
paragraph. Notwithstanding the foregoing, the Debtors shall not be required to update the
Schedules and Statements, except as may be required by applicable law.

(a)    Recharacterization. Notwithstanding the Debtors’ commercially reasonable
       efforts to properly characterize, classify, categorize, or designate certain Claims,
       assets, liabilities, executory contracts, unexpired leases, and other items reported in
       the Schedules and Statements, the Debtors may nevertheless have improperly
       characterized, classified, categorized, designated, or omitted certain items due to
       the complexity and size of the Debtors’ businesses. Accordingly, the Debtors
       reserve all of their rights to recharacterize, reclassify, recategorize, redesignate,
       add, or delete items reported in the Schedules and Statements at a later time as is
       necessary or appropriate as additional information becomes available, including,
       without limitation, whether contracts or leases listed herein were deemed executory
       or unexpired as of the Petition Date and remain executory and unexpired
       postpetition.

(b)    Classifications. Listing (i) a Claim on Schedule D as “secured,” (ii) a Claim on
       Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
       “executory” or “unexpired” does not constitute an admission by the Debtors of the
       legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
       rights to recharacterize or reclassify such Claim or contract or to setoff of such
       Claim.

(c)    Claims Description. Schedules D and E/F permit each of the Debtors to designate
       a Claim as “disputed,” “contingent,” and/or “unliquidated.” Any failure to
       designate a Claim on a given Debtor’s Schedules and Statements as “disputed,”
       “contingent,” or “unliquidated” does not constitute an admission by that Debtor that
       such amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim
       is not subject to objection. The Debtors reserve all rights to dispute, or assert offsets
       or defenses to, any Claim reflected on their respective Schedules and Statements
       on any grounds, including, without limitation, liability or classification.
       Additionally, the Debtors expressly reserve all rights to subsequently designate
       such Claims as “disputed,” “contingent,” or “unliquidated” or object to the extent,
       validity, enforceability, priority, or avoidability of any Claim. Moreover, listing a
       Claim does not constitute an admission of liability by the Debtor against which the
       Claim is listed or by any of the Debtors. The Debtors reserve all rights to amend
       Schedules and Statements as necessary and appropriate, including, but not limited
       to, with respect to Claim description and designation.

(d)    Estimates and Assumptions. The preparation of the Schedules and Statements
       required the Debtors to make reasonable estimates and assumptions with respect to
       the reported amounts of assets and liabilities, the amount of contingent assets and
       contingent liabilities on the date of the Schedules and Statements, and the reported
       amounts of revenues and expenses during the applicable reporting periods. Actual
       results could differ materially from such estimates. The Debtors reserve all rights


                                          4
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 6 of 46




      to amend the reported amounts of assets and liabilities to reflect changes in
      estimates or assumptions.

(e)   Causes of Action. Despite reasonable efforts to identify all known assets, the
      Debtors may not have identified and/or set forth all of their claims or causes of
      action (filed or potential) against third parties as assets in their Schedules and
      Statements, including, without limitation, claims or causes of action that are
      required to be kept confidential and claims or causes of action arising under the
      provisions of chapter 5 of the Bankruptcy Code and actions under other relevant
      bankruptcy and non-bankruptcy laws to recover assets or avoid transfers. The
      Debtors reserve all rights with respect to any claims and causes of action (including
      avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
      recoupment and any claim on contracts or for breaches of duties imposed by law or
      in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
      damage, judgment, account, defense, power, privilege, license, and franchise of any
      kind or character whatsoever, known, unknown, fixed or contingent, matured or
      unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
      undisputed, secured or unsecured, assertable directly or derivatively, whether
      arising before, on, or after the Petition Date, in contract or in tort, in law or in equity,
      or pursuant to any other theory of law (collectively, “Causes of Action”) they may
      have, and neither these Global Notes nor the Schedules and Statements shall be
      deemed a waiver of any claims or Causes of Action or in any way prejudice or
      impair the assertion of such claims or Causes of Action.

(f)   Intellectual Property Rights. Exclusion of certain intellectual property should not
      be construed to be an admission that such intellectual property rights have been
      abandoned, have been terminated or otherwise expired by their terms, or have been
      assigned or otherwise transferred pursuant to a sale, acquisition, or other
      transaction. Conversely, inclusion of certain intellectual property shall not be
      construed to be an admission that such intellectual property rights have not been
      abandoned, have not been terminated or otherwise expired by their terms, or have
      not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
      transaction. Accordingly, the Debtors reserve all of their rights with respect to the
      legal status of any and all such intellectual property rights.

(g)   Insiders. In instances where the Schedules and Statements require information
      regarding “insiders,” the Debtors have included information with respect to the
      individuals and entities who the Debtors believe may be included in the definition
      of “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
      time periods. Such individuals may no longer serve in such capacities.

      The listing or omission of a party as an insider for purposes of the Schedules and
      Statements is for informational purposes and is not intended to be, nor should it be,
      construed as an admission of the legal characterization of such party as an insider
      for purpose of section 101(31) of the Bankruptcy Code and does not act as an
      admission of any fact, Claim, right, or defense, and all such rights, Claims, and
      defenses are hereby expressly reserved. Information regarding the individuals


                                          5
     Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 7 of 46




           listed as insiders in the Schedules and Statements may not be used for: (i) the
           purposes of determining (A) control of the Debtors; (B) the extent to which any
           individual exercised management responsibilities or functions; (C) corporate
           decision-making authority over the Debtors; or (D) whether such individual could
           successfully argue that he or she is not an insider under applicable law, including
           the Bankruptcy Code and federal securities laws, or with respect to any theories of
           liability or (ii) any other purpose.

3.   Methodology.

     (a)   Basis of Presentation. Debtor Anagram Holdings, LLC directly or indirectly owns
           100% of the equity of the other Debtors. The Debtors prepare consolidated financial
           statements, which are typically audited annually. Combining the assets and
           liabilities set forth in the Debtors’ Schedules and Statements would result in
           amounts that would be substantially different from financial information that would
           be prepared on a consolidated basis under Generally Accepted Accounting
           Principles (“GAAP”). Therefore, the Schedules and Statements do not purport to
           represent financial statements prepared in accordance with GAAP nor are they
           intended to fully reconcile to the consolidated financial statements prepared by the
           Debtors. Unlike the consolidated financial statements, the Schedules and
           Statements reflect the assets and liabilities of each separate Debtor, except where
           otherwise indicated. Additionally, the Schedules and Statements contain unaudited
           information that is subject to further review and potential adjustment and reflect the
           Debtors’ reasonable efforts to report the assets and liabilities of each Debtor on an
           unconsolidated basis.

     (b)   Comprehensive Enterprise. The Debtors utilize a central and consolidated cash
           management system, which consists of multiple bank accounts
           (the “Cash Management System”), as described in further detail in the Debtors’
           Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
           Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
           Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business
           Forms and Books and Records, and (D) Continue to Perform Intercompany
           Transactions and (II) Granting Related Relief [Docket No. 14] (the “Cash
           Management Motion”). The Debtors manage the cash within the Cash Management
           System by transferring funds among bank accounts as needed based on cash
           receipts and disbursements. Certain payments in the Schedules and Statements may
           have been made by one legal entity on behalf of another legal entity through the Cash
           Management System. The Bankruptcy Court has entered orders authorizing the
           Debtors to continue using the Cash Management System [Docket No. 84, 217]
           (the “Cash Management Orders”). The Debtors’ treasury and accounting
           departments regularly reconcile the Debtors’ books and records to ensure that all
           transfers are accounted for properly. Thus, the Debtors’ debits and credits are
           known and recorded. Although diligent efforts have been made to set forth open
           payable amounts and Claims on the Schedules and Statements of the correct legal
           entity, the Debtors reserve the right to modify or amend the Schedules and



                                             6
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 8 of 46




      Statements to update payable amounts or attribute open payable amounts and
      Claims to a different legal entity, if necessary or appropriate.

(c)   Confidential Information. There may be instances in the Schedules and
      Statements where the Debtors deemed it necessary and appropriate to redact from
      the public record information such as names, addresses, or amounts. Pursuant to
      the Order (I) Authorizing the Debtors to (A) File a Consolidated List of Creditors,
      (B) File a Consolidated List of the 30 Largest Unsecured Creditors, and (C) Redact
      Certain Personal Identification Information; (II) Approving the Forn and Manner
      of Notifying Creditors of the Commencement of These Chapter 11 Cases; and (III)
      Granting Related Relief [Docket No. 132] (the “Creditor Matrix Order”), the
      Bankruptcy Court has authorized the Debtors to redact certain personally
      identifiable information on the Debtors’ Schedules and Statements In addition, the
      Debtors may have redacted certain information where an agreement between the
      Debtors and a third party, concerns of confidentiality, the protection of sensitive
      commercial information, or concerns for the privacy of individuals, including
      employees, so requires. Moreover, the very existence of certain agreements may
      be (by the terms of such agreements) confidential. These agreements have been
      noted, however, as “Confidential” in the Schedules and Statements, where
      applicable. The alterations or redactions are limited only to what the Debtors
      believe is warranted.

(d)   Executory Contracts. Although the Debtors have made reasonable efforts to
      attribute each executory contract to its rightful Debtor, in certain instances, the
      underlying executory contract may not specify the particular Debtor legal entity
      that is party to the contract. Accordingly, the Debtors reserve all of their rights with
      respect to the named parties of any and all executory contracts, including the right
      to amend Schedule G. In addition, although the Debtors have made reasonable
      efforts to properly identify executory contracts and unexpired leases, the inclusion
      of a contract or lease on Schedule G does not constitute an admission as to the
      executory or unexpired nature (or non-executory or expired nature) of the contract
      or lease, or an admission as to the existence or validity of any Claims held by the
      counterparty to such contract or lease.

      (i)    Furthermore, the Debtors may be third party beneficiaries under certain
             contracts where a Party City entity is the named contract counterparty. The
             Debtors have not included such contracts on the Schedules and Statements
             because they are not a contract counterparty, however, the Debtors reserve
             all their rights, as a third party beneficiary or otherwise, with respect to such
             contracts.

(e)   Leases. The Debtors have not included the future obligations of any capital or
      operating leases in the Schedules and Statements. To the extent that there was an
      amount outstanding as of the Petition Date, the creditor has been included on
      Schedule E/F.




                                         7
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 9 of 46




      In the ordinary course of business, certain of the Debtors may enter into agreements
      titled as leases for property, other real property interests, and equipment from third
      party lessors for use in the daily operation of their business. Any known prepetition
      obligations of the Debtors for equipment or similar leases have been listed on
      Schedule D or Schedule E/F as applicable, along with the lease counterparties, and
      the underlying lease agreements are listed on Schedule G, or, if the leases are in the
      nature of real property interests under applicable state laws, on Schedule A.
      Nothing in the Schedules or Statements is, or shall be construed to be, an admission
      as to the determination of the legal status of any lease (including whether any lease
      is a true lease, a financing arrangement, or a real property interest), and the Debtors
      reserve all rights with respect to such issues.

(f)   Net Book Value. In certain instances, current market valuations for individual
      items of property and other assets are neither maintained by, nor readily available
      to, the Debtors. It would be prohibitively expensive, unduly burdensome, and an
      inefficient use of estate assets for the Debtors to obtain current market valuations
      of all of their assets. Unless otherwise noted, the Schedules and Statements reflect
      net book values as of the Reporting Date. Exceptions to this include operating cash,
      cash equivalents, and certain other assets. Operating cash is presented as bank
      balances as of the Petition Date. Certain other assets, such as investments in
      subsidiaries and other intangible assets, are listed at undetermined amounts, as the
      net book values may vary materially from fair market values. Certain assets that
      have been fully depreciated or that were expensed for accounting purposes either
      do not appear in the Schedules and Statements or are listed with a zero-dollar value,
      as such assets have no net book value. The omission of an asset from the Schedules
      and Statements does not constitute a representation regarding the ownership of such
      asset, and any such omission does not constitute a waiver of any rights of the
      Debtors with respect to such asset.

      The book values of certain assets may materially differ from amounts ultimately
      realized, their fair market values and/or the Debtors’ enterprise valuation that may
      subsequently be prepared. For the avoidance of doubt, nothing contained in the
      Schedules and Statements is indicative of the Debtors’ enterprise value.
      Accordingly, the Debtors reserve all rights to amend, supplement, and adjust the
      value of each asset set forth herein. In addition, the amounts shown for total
      liabilities exclude items identified as “unknown” or “undetermined,” and, thus,
      ultimate liabilities may differ materially from those stated in the Schedules and
      Statements.

      Book values of assets prepared in accordance with GAAP generally do not reflect
      the current performance of the assets or the impact of the industry environment and
      may differ materially from the actual value and/or performance of the underlying
      assets.

(g)   Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
      and postpetition periods based on the information and research conducted in
      connection with the preparation of the Schedules and Statements. As additional


                                        8
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 10 of 46




      information becomes available and further research is conducted, the allocation of
      liabilities between the prepetition and postpetition periods may change.
      Accordingly, the Debtors reserve all of their rights to amend, supplement, or
      otherwise modify the Schedules and Statements as necessary or appropriate.

      The Debtors reserve all of their rights to dispute or challenge the validity of any
      asserted Claims under section 503(b)(9) of the Bankruptcy Code or the
      characterization of the structure of any such transaction or any document or
      instrument related to any creditor’s Claim.

(h)   Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
      or “undetermined” is not intended to reflect upon the materiality of such amount.

(i)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
      Debtors are scheduled as “unliquidated.”

(j)   Zero Dollar Amounts. Amounts listed as zero are either $0, unliquidated, or
      undetermined.

(k)   Totals. All totals that are included in the Schedules and Statements represent totals
      of all known amounts. To the extent there are unknown or undetermined amounts,
      the actual total may be different than the listed total.

(l)   Paid Claims. Pursuant to certain interim and final “first day” orders entered by the
      Bankruptcy Court in these chapter 11 cases (the “First Day Orders”), the Debtors
      were authorized (but not directed) to pay in their discretion certain Claims on a
      postpetition basis; as such, outstanding liabilities may have been reduced by any
      court-approved postpetition payments made on prepetition payables. Where and to
      the extent these liabilities have been satisfied, they may not be listed in the
      Schedules and Statements. To the extent the Debtors later pay any amount of the
      Claims listed in the Schedules and Statements pursuant to any orders entered by the
      Bankruptcy Court, the Debtors reserve all rights to amend or supplement the
      Schedules and Statements or to take other action, such as filing claims objections,
      as is necessary and appropriate to avoid overpayment or duplicate payments for
      liabilities.

(m)   Intercompany Claims. As described more fully in the Cash Management Motion,
      the Debtors engage in a range of intercompany transactions in the ordinary course
      of business. Pursuant to the Cash Management Orders, the Bankruptcy Court has
      granted the Debtors authority to continue the intercompany transactions in the
      ordinary course of business. As described in the First Day Declaration, the Debtors’
      relationship with Party City is governed primarily by three intercompany contracts
      and, in the ordinary course of business, the Debtors and Party City settle amounts
      owed under such intercompany contracts either in cash or through set off. As of the
      Petition Date, the intercompany balance between the Debtors and Party City
      reflected a net receivable, which is set forth on Schedule A/B, Part 3. Individual set




                                        9
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 11 of 46




      offs, however, are excluded from the Schedules and Statements. The Debtors and
      all parties-in-interest reserve all rights with respect to such accounts.

      (i)    Any cash payments from the Debtors to non-Debtor affiliates, including
             Party City, in the year leading up to the Petition Date are included in the
             Statements on Part 2, Question 4.

(n)   Guarantees and Other Secondary Liability Claims. The Debtors have used their
      reasonable efforts to locate and identify guarantees and other secondary liability
      claims (collectively, the “Guarantees”) in their executory contracts, unexpired
      leases, debt instruments, and other such agreements. Where such Guarantees have
      been identified, they have been included in the relevant Schedule for the Debtor or
      Debtors affected by such Guarantees. However, certain Guarantees embedded in
      the Debtors’ executory contracts, unexpired leases, secured financings, debt
      instruments, and other agreements may have been inadvertently omitted. The
      Debtors believe that certain Guarantees embedded in the Debtors’ executory
      contracts, unexpired leases, other secured financing, debt instruments, and similar
      agreements may exist and, to the extent they do, will be identified upon further
      review. Therefore, the Debtors reserve their rights to amend the Schedules to the
      extent additional Guarantees are identified.

(o)   Excluded Assets and Liabilities. The Debtors have excluded the following
      categories of assets and liabilities from the Schedules and Statements: certain
      deferred charges, accounts, or reserves recorded only for purposes of complying
      with the requirements of GAAP; deferred tax assets and liabilities; goodwill and
      other intangibles; deferred revenue accounts; and certain accrued liabilities
      including, but not limited to, accrued salaries and employee benefits. The Debtors
      also have excluded rejection damage Claims of counterparties to executory
      contracts and unexpired leases that have not been rejected, to the extent such
      damage Claims exist. The Debtors have also excluded unbilled receivables,
      customer advances, billings in excess of cost and allowances for doubtful accounts.
      The Debtors also have excluded worker’s compensation Claims to maintain the
      privacy of the claimants. In addition, other immaterial assets and liabilities may
      also have been excluded.

(p)   Employee Claims. The Bankruptcy Court entered a final order granting authority,
      but not requiring, the Debtors to pay prepetition employee wages, salaries, benefits,
      and other related obligations. The Debtors currently expect that all prepetition
      employee Claims for wages, salaries, benefits, and other related obligations either
      have been paid or will be paid in the ordinary course of business and, therefore, the
      Schedules and Statements do not include such Claims.

(q)   Liens. The inventories, property, and equipment listed in the Schedules and
      Statements are presented without consideration of any liens that may attach (or have
      attached) to such property and equipment.

(r)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.



                                       10
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 12 of 46




(s)   Credits and Adjustments. The Claims of individual creditors for, among other
      things, goods, products, or services are listed as amounts entered on the Debtors’
      books and records and may not reflect credits, allowances, or other adjustments due
      from such creditors to the Debtors. The Debtors reserve all of their rights respecting
      such credits, allowances and other adjustments.

(t)   Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
      course of business. Such setoffs and nettings may occur due to a variety of
      transactions or disputes including, but not limited to, intercompany transactions,
      counterparty settlements, pricing discrepancies, rebates, returns, warranties,
      refunds, and negotiations and/or disputes between Debtors and their customers
      and/or suppliers. These normal, ordinary course setoffs and nettings are common
      to the Debtors’ business and are consistent with the ordinary course business of the
      Debtors’ industry. Due to the voluminous nature of setoffs and nettings, it would
      be unduly burdensome and costly for the Debtors to list each such transaction.
      Therefore, although such setoffs and other similar rights may have been accounted
      for when scheduling certain amounts, these ordinary course setoffs are not
      independently accounted for, and as such, are or may be excluded from the
      Schedules and Statements. In addition, some amounts listed in the Schedules and
      Statements may have been affected by setoffs or nettings by third parties of which
      the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff
      and/or recoupment rights that may be asserted. Any setoff of a prepetition debt to
      be applied against the Debtors is subject to the automatic stay and must comply
      with section 553 of the Bankruptcy Code. The Debtors reserve all rights with
      respect thereto, including the right to amend the setoff amounts.

(u)   Contingent Assets. The Debtors believe that they may possess certain claims and
      causes of action against various parties. The Debtors may also possess contingent
      claims in the form of various avoidance actions they could commence under the
      provisions of chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy
      laws. The Debtors, despite reasonable efforts, may not have set forth all of their
      causes of action against third parties as assets in their Schedules and Statements.
      The Debtors reserve all of their rights with respect to any claims, causes of action,
      or avoidance actions they may have and nothing contained in these Global Notes
      or the Schedules and Statements shall be deemed a waiver of any such claims,
      avoidance actions, or causes of action or in any way prejudice or impair the
      assertion of such claims.

(v)   Receivables. The Debtors have included only the aggregate book value of accounts
      receivables and have not listed individual customer receivable balance information
      as the Debtors consider their customer list to be proprietary and confidential.

(w)   Fiscal Year. Each Debtor’s fiscal year ends on December 31.

(x)   Claims of Third-Party Related Entities. While the Debtors have made every
      effort to properly classify each claim listed in the Schedules as being either disputed
      or undisputed, liquidated or unliquidated, and contingent or noncontingent, the



                                        11
      Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 13 of 46




               Debtors have not been able to fully reconcile all payments made to certain third
               parties and their related entities on account of the Debtors’ obligations to such
               parties. Therefore, to the extent the Debtors have classified their estimate of claims
               of a creditor as disputed, all claims of such creditor’s affiliates listed in the
               Schedules and Statements shall similarly be considered disputed, whether or not
               they are designated as such.

                                  Specific Schedules Disclosures

       Schedules Summary. The asset information provided represents the asset data of the
Debtors as of the close of business on the Reporting Date, except as otherwise noted. The liability
information represents the liability data of the Debtors as of the Petition Date, except as otherwise
noted.

         The Schedules do not purport to represent financial statements prepared in accordance with
GAAP, nor are they intended to be fully reconciled with the financial statements of each Debtor.
Certain write-downs, impairments, and other accounting adjustments may not be reflected in the
Schedules. Additionally, the Schedules contain unaudited information that is subject to further
review and potential adjustment and reflect the Debtors’ reasonable efforts to report the assets and
liabilities of each Debtor on an unconsolidated basis. Moreover, given, among other things, the
uncertainty surrounding the collection and ownership of certain assets and the valuation and nature
of certain liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
admission as to the Debtor’s solvency as of the Petition Date or at any time before the Petition
Date. Likewise, to the extent a Debtor shows more liabilities than assets, this is not an admission
that the Debtor was insolvent as of the Petition Date or at any time before the Petition Date.

1.     Schedule A/B

       (a)     Unless otherwise stated, that amounts in Schedule A/B are as of the Reporting Date.

       (b)     Parts 1 and 2 – Cash and Cash Equivalents; Deposits and Prepayments.

                  Details with respect to the Debtors’ Cash Management System and bank
                   accounts are provided in the Cash Management Motion and the Cash
                   Management Orders. The balances of the financial accounts listed on Schedule
                   A/B, Part 1, are as of the Petition Date.

                  Additionally, the Court, pursuant to the Order (I) Approving the Debtors’
                   Proposed Adequate Assurance of Payment for Future Utility Services, (II)
                   Prohibiting Utility Providers from Altering, Refusing, or Discontinuing
                   Services, (III) Approving the Debtors’ Proposed Procedures for Resolving
                   Additional Assurance Requests, and (IV) Granting Related Relief [Docket
                   No. 89], has authorized the Debtors to provide adequate assurance of payment
                   for future utility services. Such deposits are not listed on Schedule A/B, Part 2,
                   which has been prepared as of the Reporting Date.




                                                 12
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 14 of 46




         The balances of deposits and prepayments presented on Schedule A/B, Parts 1
          and 2 are as of the Reporting Date.

(c)   Part 3 – Accounts Receivable.

         Amounts listed reflect gross amounts received or face amounts requested.

         Intercompany receivable amounts included in accounts receivable totals are net
          of intercompany payables or chargebacks.

(d)   Parts 5, 7, 8, and 9 – Inventory, Excluding Agriculture Assets; Office
      Furniture, Fixtures, and Equipment; and Collectibles; Machinery,
      Equipment, and Vehicles; Real Property.

         AB19-22 Date of last physical inventory: The Debtors perform daily cycle
          counts at their distribution center and inventory counts at their manufacturing
          facility.

         AB25: Pursuant to the amounts set forth in the Debtors’ Emergency Motion for
          Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay Certain
          Prepetition Claims of (A) Critical Vendors, (B) Lien Claimants, (C) Foreign
          Vendors, and (D) 503(b)(9) Claimants, (II) Confirming Administrative Expense
          Priority of Outstanding Orders, and (III) Granting Related Relief [Docket No.
          11] (the “CV Motion”), the Debtors estimate that they owe approximately
          $6,300,000 in prepetition Trade Claims (as defined in the CV Motion). The
          Debtors estimate approximately $4,200,000 of goods were delivered in the 20
          days preceding the Petition Date, however, a determination of what raw
          materials, work in progress or finished goods were purchased during that time
          period is not possible with the information available.

         An external or professional valuation of the Debtors’ inventory has not been
          undertaken.

         Dollar amounts are presented net of accumulated depreciation and other
          adjustments as of the Reporting Date.

         AB 39,40,41,50: Items have been set forth according to categories delineated
          in the Debtors’ books and records. Individual items are available upon request.

         AB 55-58: The Debtors considered both owned real property and ground leases
          to which the respective Debtor is a lessee in responding to Schedule A/B,
          Questions 55–58. In addition, the real property leases to which a Debtor is a
          lessee or lessor are listed in Schedule G. To the extent any interest in such leases
          is listed on Schedule G but not Schedule A/B, such interests are incorporated
          into Schedule A/B, Questions 55–58 by reference.

(e)   Part 10 – Intangibles and Intellectual Property.



                                        13
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 15 of 46




         Identifies value ascribed by the Debtors to various intangible assets including
          copyrights, patents, trademarks, registered internet domains and websites, and
          licenses.

(f)   Part 11 – All Other Assets.

         Other Contingent and Unliquidated Claims or Causes of Action of Every
          Nature, including Counterclaims of the Debtor and Rights to Setoff Claims.
          In the ordinary course of their businesses, the Debtors may have accrued, or
          may subsequently accrue, certain rights to claims, counter-claims, cross-claims,
          setoffs, refunds with their suppliers or potential warranty claims against their
          suppliers. The Debtors’ failure to list any cause of action, claim, or right of any
          nature is not an admission that such cause of action, claim, or right does not
          exist, and should not be construed as a waiver of such cause of action, claim, or
          right.

         Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
          policies and related information is available in the Final Order (I) Authorizing
          the Debtors to (A) Continue Prepetition Insurance Coverage and Satisfy
          Prepetition Obligations Related Thereto, (B) Renew, Amend, Supplement,
          Extend, or Purchase Insurance Policies, and (C) Maintain their Surety Bond
          Program, and (II) Granting Related Relief [Docket No. 227] (the “Insurance
          Order”). As discussed in the Insurance Order, the Debtors are named as insured
          parties and receive coverage under Party City’s insurance policies with respect
          to certain of the insurance policies. The Debtors believe that there is little or no
          cash value to the vast majority of such insurance policies. All insurance policies
          listed in response to Schedule A/B 73 are current as of December 1, 2023.

(g)   Schedule D – Creditors Who Have Claims in Property.

         The outstanding amounts under the Debtors’ 15.00% PIK/Cash Senior Secured
          First Lien Notes due 2025, 10.00% PIK/Cash Senior Secured Second Lien
          Notes due 2026 and asset-based lending facility are set forth in their respective
          outstanding principal amounts as of the Petition Date.

         Reference to the applicable indentures, loan agreements and related documents
          is necessary for a complete description of the collateral and the nature, extent,
          and priority of any liens. Detailed descriptions of the Debtors' prepetition debt
          structure, priority of any liens, guarantees, and descriptions of collateral relating
          to the bank debt contained on Schedule D are contained in the Declaration of
          Adrian Frankum in Support of Debtors' Chapter 11 Petitions and First Day
          Motions [Docket No. 19] (the “First Day Declaration”).

         Although there are multiple parties that hold a portion of the debt included in
          the Debtors’ prepetition funded debt, only the applicable administrative agent
          or indenture trustee has been listed for purposes of Schedule D.




                                         14
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 16 of 46




         Except as otherwise agreed pursuant to a stipulation, or agreed order, or general
          order entered by the Bankruptcy Court that is or becomes final, the Debtors and
          their estates reserve their rights to dispute or challenge the validity, perfection,
          or immunity from avoidance of any lien purported to be granted or perfected in
          any specific asset to a creditor listed on Schedule D of any Debtor. Moreover,
          although the Debtors may have scheduled claims of various creditors as secured
          claims, the Debtors reserve all rights to dispute or challenge the secured nature
          of any such creditor’s claim or the characterization of the structure of any such
          transaction or any document or instrument (including, without limitation, any
          intercompany agreement) related to such creditor’s claim.

         Further, nothing on Schedule D shall be deemed an admission as to the validity
          of any lien. The Debtors made reasonable, good-faith efforts to include all liens
          on Schedule D, but may have inadvertently omitted an existing lien because of,
          among other things, the possibility that a lien may have been imposed after the
          Uniform Commercial Code searches were performed or a vendor may not have
          filed the requisite perfection documentation. Moreover, the Debtors have not
          included on Schedule D parties that may believe their Claims are secured
          through setoff rights or inchoate statutory lien rights.

(h)   Schedule E/F – Creditors Who Have Unsecured Claims

      Part 1 – Creditors with Priority Unsecured Claims. Pursuant to the Final Order
      (I) Authorizing the Payment of Certain Taxes and Fees and (II) Granting Related
      Relief [Docket No. 218] (the “Taxes Order”), the Debtors have been granted the
      authority to pay, in their discretion, certain tax liabilities that accrued prepetition.
      Accordingly, any unsecured priority claims based upon prepetition tax accruals that
      have been paid pursuant to the Taxes Order may not be listed in Schedule E.

      Furthermore, pursuant to the Order (I) Authorizing the Debtors to (A) Pay
      Prepetition Wages, Salaries, Other Compensation, and Reimbursement Expenses
      and (B) Continue Employee Benefits Programs, and (II) Granting Related Relief
      [Docket No. 83] (the “Wages Order”), the Debtors received final authority to pay
      certain prepetition obligations, including to pay employee wages and other
      employee benefits, in the ordinary course of business. The Debtors believe that any
      non-insider employee claims for prepetition amounts related to ongoing payroll and
      benefits, whether allowable as a priority or nonpriority claim, have been or will be
      satisfied, and such satisfied amounts are not listed.

      The listing of a Claim on Schedule E/F, Part 1, does not constitute an admission by
      the Debtors that such Claim or any portion thereof is entitled to priority status.

      Part 2 – Creditors with Nonpriority Unsecured Claims. The liabilities identified
      in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
      Debtors made a reasonable attempt to set forth their unsecured obligations,
      although the actual amount of Claims against the Debtors may vary from those
      liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect



                                        15
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 17 of 46




      the correct amount of any unsecured creditor’s allowed Claims or the correct
      amount of all unsecured claims. Amounts shown are as of the Petition Date.
      However, to the extent that payments were made under authority of the Court’s
      Orders, such amounts may have been reduced. Conversely, to the extent that
      additional invoices for prepetition amounts are subsequently posted to the Debtors’
      systems, such amounts may increase.

      Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
      to executory contracts and unexpired leases. Such prepetition amounts, however,
      may be paid in connection with the assumption or assumption and assignment of
      an executory contract or unexpired lease. Schedule E/F, Part 2, does not include
      Claims that may arise in connection with the rejection of any executory contracts
      and unexpired leases that have been or may be rejected.

      In many cases, the Claims listed on Schedule E/F, Part 2, arose, accrued, or were
      incurred on various dates or on a date or dates that are unknown to the Debtors or
      are subject to dispute. Where the determination of the date on which a Claim arose,
      accrued, or was incurred would be unduly burdensome and costly to the Debtors’
      estates, the Debtors have not listed a specific date or dates for such Claim.

      The Debtors have made reasonable efforts to locate and identify Guarantees in each
      of the executory contracts, unexpired leases, secured financings, debt instruments,
      and other such agreements to which any Debtor is a party. It is possible that certain
      Guarantees embedded in the Debtors’ executory contracts, unexpired leases,
      secured financings, debt instruments, and other such agreements may have been
      inadvertently omitted. The Debtors reserve their rights to amend the Schedules to
      the extent additional Guarantees are identified or such Guarantees are discovered
      to have expired or be unenforceable. In addition, the Debtors reserve the right to
      amend the Schedules and Statements and to re-characterize or reclassify any such
      contract or Claim, whether by amending the Schedules and Statements or in another
      appropriate filing. Additionally, failure to list any Guarantees in the Schedules and
      Statements, including in any future amendments to the Schedules and Statements,
      shall not affect the enforceability of any Guarantees not listed.

      As of the time of filing of the Schedules and Statements, the Debtors had not
      received all invoices for payables, expenses, and other liabilities that may have
      accrued prior to the Petition Date. Accordingly, the information contained in
      Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
      undertake no obligations, to amend Schedules D and E/F if and as they receive such
      invoices.

(i)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
      efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
      omissions may have occurred. Additionally, some relationships between the
      Debtors and certain counterparties are governed by a master services agreement or
      master license agreement, under which such counterparties also place work and
      purchase orders, which may be considered executory contracts. Some relationships



                                       16
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 18 of 46




      between the Debtors and certain counterparties are governed by sublicensing
      agreements, under which the counterparties contract with third-party vendors to
      provide goods and services to the Debtors, and such agreements may be considered
      executory contracts. Disclosure of these purchase and work orders, however, is
      impracticable and unduly burdensome. Accordingly, to the extent the Debtors have
      determined to disclose non-confidential master services agreements or master
      license agreements in Schedule G, purchase and work orders placed thereunder may
      have been omitted.

(j)   Listing a contract or agreement on Schedule G does not constitute an admission
      that such contract or agreement is an executory contract or unexpired lease or that
      such contract or agreement was in effect on the Petition Date or is valid or
      enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
      status, or enforceability of any contracts, agreements, or leases set forth in
      Schedule G and to amend or supplement such Schedule as necessary. Certain of
      the leases and contracts listed on Schedule G may contain renewal options,
      guarantees of payment, indemnifications, options to purchase, rights of first refusal,
      and other miscellaneous rights. Such rights, powers, duties, and obligations are not
      set forth separately on Schedule G. In addition, the Debtors may have entered into
      various other types of agreements in the ordinary course of their business, such as
      supplemental agreements and letter agreements, which documents may not be set
      forth in Schedule G. Further, unless otherwise specified on Schedule G, each
      executory contract or unexpired lease listed thereon shall be deemed to include all
      exhibits, schedules, riders, modifications, declarations, amendments, supplements,
      attachments, restatements, or other agreements made directly or indirectly by any
      agreement, instrument, or other document that in any manner affects such executory
      contract or unexpired lease, without respect to whether such agreement, instrument,
      or other document is listed thereon.

      In some cases, the same supplier or provider may appear multiple times in
      Schedule G. Multiple listings, if any, reflect distinct agreements between the
      applicable Debtor and such supplier or provider.

      In the ordinary course of business, the Debtors may have issued numerous purchase
      orders for supplies, product, and related items, which, to the extent such purchase
      orders constitute executory contracts, are not listed individually on Schedule G. To
      the extent that goods were delivered under purchase orders prior to the Petition
      Date, vendors’ Claims with respect to such delivered goods are included on
      Schedule E/F. Similarly, in the ordinary course of business, the Debtors may have
      issued numerous statements of work or similar documents for services, which, to
      the extent such statements of work or similar documents constitute executory
      contracts, may not be listed individually on Schedule G. To the extent services
      were delivered under statements of work prior to the Petition Date, vendors’ Claims
      with respect to such services are included on Schedule E/F.

      The Debtors reserve all rights to dispute or challenge the characterization of any
      transaction or any document or instrument related to a creditor’s Claim.


                                       17
     Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 19 of 46




            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. Contracts or agreements identified on Schedule G, include all
            amendments, supplements, and other documents related thereto. The Debtors’
            rights under the Bankruptcy Code with respect to any such omitted contracts or
            agreements, or portions thereof, are not impaired by the omission.

2.   Specific Statements Disclosures.

     (a)    Statements, Part 1, Questions 1 and 2. The gross revenue reported for the current
            fiscal year is through the Petition Date, while the non-business revenue reported for
            the current fiscal year is through the Reporting Date. Anagram International, Inc.,
            through their joint venture agreement with with Convergram Mexico, S. De R.L de
            C.V. (“Convergram”), owns a 49.9% equity interest, which entitles them to non-
            operating revenues through the profit-sharing program.

     (b)    Statements, Part 2, Question 3 – 90 Day Payments. The Debtors have responded
            to Statement, Part 2, Question 3 in a detailed format by creditor. The response to
            Statement, Part 2, Question 3 includes any disbursement or other transfer made by
            the Debtors except for those made to (i) insiders or other Debtors (which payments
            appear in response to Statement, Part 2, Question 4), (ii) non-insider employees,
            and (iii) bankruptcy professionals (which payments appear in response to
            Statement, Part 6, Question 11). In addition, the response to Statement, Part 2,
            Question 3 does not include checks that were either voided or not presented before
            the Petition Date.

            Statements, Part 2, Question 4. To the extent: (i) a person qualified as an
            “insider” in the year prior to the Petition Date, but later resigned their insider status
            or (ii) did not begin the year as an insider, but later became an insider, the Debtors
            have only listed those payments made while such person was defined as an insider
            in Statements, Part 2, Question 4.

            The inclusion of a party as an “insider” is not intended to be, nor should it be,
            construed as a legal characterization of such party as an insider and does not act as
            an admission of any fact, Claim, right, or defense, and such rights, Claims, and
            defenses are hereby expressly reserved.

     (c)    Statements, Part 3, Question 7. Although the Debtors believe they were diligent
            in their efforts, certain lawsuits and proceedings may have been excluded
            inadvertently in the Debtors’ response to SOFA, Question 7. Additionally, the
            Debtors may have causes of action against other parties that have not formally been
            commenced, and thus any such causes of action have not been included on SOFA
            Part 3, Question 7. The Debtors reserve all of their rights to amend or supplement
            their response to SOFA Part 3, Question 7.

            The Debtors reserve all of their rights and defenses with respect to any and all listed
            lawsuits and administrative proceedings. The listing of such actions shall not



                                               18
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 20 of 46




      constitute an admission by the Debtors of any liabilities or that the actions were
      correctly filed against the Debtors or any affiliates of the Debtors. The Debtors also
      reserve their rights to assert that neither the Debtors nor any affiliate of the Debtors
      is an appropriate party to such actions or proceedings.

      In the event that the Debtors discover additional information pertaining to these
      legal actions identified in response to SOFA Part 3, Question 7, the Debtors will
      use reasonable efforts to supplement the Statements in light thereof and reserve all
      rights to do so.

      The response to this question excludes normal-course state audit activities.

(d)   Statements, Part 4, Question 5. The Debtors return products in the ordinary
      course due to defect, or if the product is not needed. The Debtors did not list any of
      these types of ordinary course returns in response to SOFA Part 2, Question 5.

(e)   Statements, Part 4, Question 9 – Gifts. The Debtors do not specifically keep
      track of gifts or charitable contributions. The amounts listed in Statements, Part 4,
      Question 9 were based on a manual review of items in the Debtors’ books and
      records determined to be gifts or charitable contributions. As a result, inadvertent
      errors or omissions may exist.

(f)   Statements, Part 6, Question 11 – Payments Related to Bankruptcy. Presented
      herein are payments made to various professional services firms for services
      rendered within one year immediately preceding the Commencement Date. The
      services rendered pertain to (i) debt restructuring and liquidity management, (ii)
      relief under the Bankruptcy Code, (iii) preparation of bankruptcy petitions and
      filings, and/or (iv) bankruptcy financing. Information regarding the Debtors’
      retention of professional service firms is more fully described in the individual
      retention applications and related orders.

(g)   Statements, Part 6, Question 13. The Debtors may, from time to time and in the
      ordinary course of business, transfer equipment and other assets and/or sell certain
      equipment and other assets to third parties. These types of ordinary course transfers
      have not been disclosed. The Debtors may also abandon assets in place at the
      locations for which they have no future use or have been unable to sell to a third
      party. These types of transfers have not been disclosed.

(h)   Statements, Part 11, Question 21 – Property Held for Another. The Debtors
      engage in a consignment program with a vendor whereby the inks owned by the
      vendor are stored at the Debtor’s manufacturing facility and are only purchased
      when consumed. Such program is listed on Part 11, Question 21.

(i)   Statements, Part 13, Question 26 – Books, Records and Financial Statements.
      The Debtors provide certain parties, such as banks, auditors, potential investors,
      vendors, and financial advisors, with financial statements that may not be part of a
      public filing. The Debtors do not maintain complete lists or other records tracking
      such disclosures. Therefore, the Debtors have provided lists of these parties in their


                                        19
Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 21 of 46




      Responses to Statement Question 26 only to the extent such information was
      available upon recollection from Debtor personnel.

(j)   Statements, Part 13, Question 27 – Inventories. The Debtors perform daily cycle
      counts at their distribution center and inventory counts at their manufacturing
      facility.

(k)   Statements, Part 13, Question 29 – Former Directors and Officers.
      Commercially reasonable efforts have been made to provide accurate and complete
      information regarding the former directors, managing members, general partners,
      members, or shareholders who were in control of the Debtors within one year
      before the Petition Date but who no longer hold these positions. Inadvertent errors
      or omissions may exist.

(l)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
      Credited or Given to Insiders. Answers to this question are provided in Statement
      Question 4.


                        *      *       *      *       *




                                      20
                    Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 22 of 46



 Fill in this information to identify the case:

 Debtor Name: In re : Anagram Holdings, LLC

 United States Bankruptcy Court for the: Southern District Of Texas

 Case number (if known): 23-90901 (MI)

                                                                                                                         Check if this is an
                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                       04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor¶s name and case number (if known).


 Part 1:      Income


 1. Gross revenue from business

    5 None


           Identify the beginning and ending dates of the debtor¶s fiscal year, which        Sources of revenue     Gross revenue
           may be a calendar year                                                            Check all that apply   (before deductions and
                                                                                                                    exclusions)


        From the beginning of the
        fiscal year to filing date: From                              to    Filing date      Operating a business

                                                 MM / DD / YYYY                              Other                  $



        For prior year:                 From                          to                     Operating a business

                                                 MM / DD / YYYY             MM / DD / YYYY   Other                  $



        For the year before that:       From                          to                     Operating a business

                                                 MM / DD / YYYY             MM / DD / YYYY   Other                  $




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           Page 1
                    Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 23 of 46
Debtor:   Anagram Holdings, LLC                                                                     Case number (if known):   23-90901

          Name


 2. Non-business revenue

    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
    and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    5 None


                                                                                                                              Gross revenue from each
                                                                                                Description of sources        source
                                                                                                of revenue                    (before deductions and
                                                                                                                              exclusions)

       From the beginning of the
       fiscal year to filing date: From                          to   Filing date                                               $
                                            MM / DD / YYYY


      For prior year:                From                        to                                                             $
                                            MM / DD / YYYY            MM / DD / YYYY


       For the year before that:     From                        to                                                             $
                                            MM / DD / YYYY            MM / DD / YYYY




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       Page 2
                           Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 24 of 46
Debtor:    Anagram Holdings, LLC                                                                         Case number (if known):    23-90901

           Name



 Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

      3. Certain payments or transfers to creditors within 90 days before filing this case

        List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
        filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575 . (This amount may be adjusted on 4/01/25
        and every 3 years after that with respect to cases filed on or after the date of adjustment.)

        5 None

                  Creditor¶s name and address                                                                           Reasons for payment or transfer
                                                                     Dates             Total amount or value
                                                                                                                        Check all that apply
           3.1                                                                          $                                          Secured debt
                  Creditor's Name
                                                                                                                                   Unsecured loan repayments

                                                                                                                                   Suppliers or vendors
                  Street
                                                                                                                                   Services

                                                                                                                                   Other


                  City                   State        ZIP Code



                  Country




 4.              Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                 List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
                 guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
                 $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
                 adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
                 and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
                 any managing agent of the debtor. 11 U.S.C. § 101(31).
                 5 None

                 Insider's Name and Address                      Dates            Total amount or value           Reason for payment or transfer

          4.1                                                                      $
                 Insider's Name




                 Street




                 City                  State       ZIP Code



                 Country


                 Relationship to Debtor




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            Page 3
                         Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 25 of 46
Debtor:   Anagram Holdings, LLC                                                                        Case number (if known):   23-90901

          Name

 5.     Repossessions, foreclosures, and returns

        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
        sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


        5 None

        Creditor's Name and Address                             Description of the Property                   Date                  Value of property

          5.1                                                                                                                        $
                Creditor's Name



                Street




                City                  State       ZIP Code



                Country



   6.   Setoffs

        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
        of the debtor without permission or refused to make a payment at the debtor¶s direction from an account of the debtor because the debtor owed a
        debt.

        5 None

                Creditor's Name and Address                  Description of the action creditor took      Date action was taken          Amount

          6.1                                                                                                                            $
                Creditor's Name



                Street

                                                                Last 4 digits of account number: XXXX±


                City              State       ZIP Code



                Country




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      Page 4
                          Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 26 of 46
Debtor:    Anagram Holdings, LLC                                                                  Case number (if known):   23-90901

           Name


 Part 3:         Legal Actions or Assignments

 7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity²within 1 year before filing this case.
       5 None

                   Case title                       Nature of case                   Court or agency¶s name and address                        Status of case

           7.1                                                                                                                                      Pending
                                                                                    Name
                                                                                                                                                    On appeal

                                                                                                                                                    Concluded
                                                                                    Street

                   Case number


                                                                                    City                       State        ZIP Code


                                                                                    Country




 8.   Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
      of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      5 None
                 Custodian¶s name and address                Description of the Property                Value
          8.1                                                                                       $
                 Custodian¶s name                                                                       Court name and address
                                                             Case title
                 Street                                                                                 Name




                                                             Case number                                Street

                 City               State       ZIP Code



                 Country                                     Date of order or assignment                City                           State           ZIP Code



                                                                                                        Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         Page 5
                          Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 27 of 46
Debtor:    Anagram Holdings, LLC                                                                Case number (if known):   23-90901

           Name


 Part 4:         Certain Gifts and Charitable Contributions
 9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
      of the gifts to that recipient is less than $1,000

      5 None

                                                              Description of the gifts or
                 Recipient¶s name and address                                                    Dates given                 Value
                                                              contributions
           9.1                                                                                                               $
                 Creditor's Name


                 Street




                 City                 State        ZIP Code


                 Country

                  Recipient¶s relationship to debtor




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         Page 6
                     Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 28 of 46
Debtor:    Anagram Holdings, LLC                                                                         Case number (if known):   23-90901

           Name


 Part 5:         Certain Losses
 10.      All losses from fire, theft, or other casualty within 1 year before filing this case.
          5 None

                                                                Amount of payments received
                                                                for the loss
                                                                If you have received payments to
                                                                cover the loss, for example, from
                                                                insurance, government
                 Description of the property lost and how the
                                                                compensation, or tort liability, list   Date of loss                       Value of property lost
                 loss occurred
                                                                the total received.
                                                                List unpaid claims on Official
                                                                Form 106A/B (Schedule A/B:
                                                                Assets ±Real and Personal
                                                                Property).
          10.1                                                                                                                         $




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                               Page 7
                     Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 29 of 46
Debtor:     Anagram Holdings, LLC                                                                      Case number (if known):   23-90901

           Name


  Part 6:      Certain Payments or Transfers

   11.      Payments related to bankruptcy

           List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
           of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
           relief, or filing a bankruptcy case.
           5 None

                     Who was paid or who received the transfer?     If not money, describe any property transferred    Dates             Total amount or value

              11.1                                                                                                                          $


                     Address


                     Street




                     City               State         ZIP Code



                     Country

                     Email or website address



                     Who made the payment, if not debtor?




  12. Self-settled trusts of which the debtor is a beneficiary

          List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
          case to a self-settled trust or similar device.
          Do not include transfers already listed on this statement.
          5 None

                                                                                                             Dates transfers
                   Name of trust or device                        Describe any property transferred                                  Total amount or value
                                                                                                             were made
            12.1                                                                                                                     $


                   Trustee




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          Page 8
                          Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 30 of 46
Debtor:     Anagram Holdings, LLC                                                                  Case number (if known):   23-90901

           Name

  13. Transfers not already listed on this statement

          List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
          within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial
          affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          5 None

                                                                 Description of property transferred or
                   Who received transfer?                                                                 Date transfer was
                                                                 payments received or debts paid in                              Total amount or value
                                                                                                          made
                                                                 exchange
            13.1                                                                                                                 $


                   Address


                   Street




                   City               State       ZIP Code



                   Country
                   Relationship to Debtor




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    Page 9
                          Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 31 of 46
Debtor:     Anagram Holdings, LLC                                                                 Case number (if known):   23-90901

           Name


  Part 7:        Previous Locations
   14.     Previous addresses

           List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
           5 Does not apply
                  Address                                                           Dates of occupancy

          14.1                                                                       From                                   To
                 Street




                 City                   State                ZIP Code


                 Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              Page 10
                          Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 32 of 46
Debtor:     Anagram Holdings, LLC                                                                         Case number (if known):   23-90901

            Name


  Part 8:          Health Care Bankruptcies
  15. Health Care bankruptcies

       Is the debtor primarily engaged in offering services and facilities for:
       ²diagnosing or treating injury, deformity, or disease, or
       ²providing any surgical, psychiatric, drug treatment, or obstetric care?
       5 No. Go to Part 9.

             Yes. Fill in the information below.

                                                                                                                                    If debtor provides meals and
                   Facility Name and Address                  Nature of the business operation, including type of services
                                                                                                                                    housing, number of patients in
                                                              the debtor provides
                                                                                                                                    debtor¶s care
            15.1
                   Facility Name




                                                              Location where patient records are maintained (if different from
                                                              facility address). If electronic, identify any service provider.
                                                                                                                                    How are records kept?
                   Street                                                                                                           Check all that apply:
                                                                                                                                        Electronically

                                                                                                                                        Paper
                   City             State          ZIP Code



                   Country




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                               Page 11
                    Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 33 of 46
Debtor:    Anagram Holdings, LLC                                                                  Case number (if known):   23-90901

           Name


 Part 9:      Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

          5 No.

             Yes. State the nature of the information collected and retained.

                    Does the debtor have a privacy policy about that information?

                       No

                        Yes


 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

      5No. Go to Part 10.

           Yes. Does the debtor serve as plan administrator?

              No. Go to Part 10.

              Yes. Fill in below:

                              Name of plan                                              Employer identification number of the plan

                     17.1                                                               EIN:

                              Has the plan been terminated?
                                 No
                                Yes




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         Page 12
                        Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 34 of 46
Debtor:    Anagram Holdings, LLC                                                                         Case number (if known):   23-90901

          Name


 Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts

      Within 1 year before filing this case, were any financial accounts or instruments held in the debtor¶s name, or for the debtor¶s benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
      cooperatives, associations, and other financial institutions.

      5 None


                                                                                                                   Date account was
                                                                        Last 4 digits of                                                Last balance before closing or
                 Financial institution name and address                                      Type of account       closed, sold, moved,
                                                                        account number                                                  transfer
                                                                                                                   or transferred


          18.1                                                          XXXX-                Checking                                     $
                 Name
                                                                                             Savings

                                                                                             Money market
                 Street
                                                                                             Brokerage

                                                                                             Other


                 City                State            ZIP Code



                 Country



   19.    Safe deposit boxes

          List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
          filing this case.
            5 None


                                                                                Names of anyone with access                                    Does debtor still
                        Depository institution name and address                                                 Description of the contents
                                                                                to it                                                          have it?



                 19.1                                                                                                                             No
                          Name

                                                                                                                                                  Yes
                          Street



                                                                                Address
                          City               State               ZIP Code



                        Country


                 19.2                                                                                                                             No
                          Name

                                                                                                                                                  Yes
                          Street



                                                                                Address
                          City               State               ZIP Code



                        Country




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         Page 13
                        Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 35 of 46
Debtor:   Anagram Holdings, LLC                                                                       Case number (if known):   23-90901

          Name

  20. Off-premises storage

      List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
      building in which the debtor does business.

       5 None


                                                                                                                                           Does debtor still
                 Facility name and address                        Names of anyone with access to it         Description of the contents
                                                                                                                                           have it?



          20.1                                                                                                                               No
                 Name

                                                                                                                                             Yes
                 Street




                                                                  Address
                 City               State          ZIP Code



                 Country




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         Page 14
                        Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 36 of 46
Debtor:   Anagram Holdings, LLC                                                                  Case number (if known):   23-90901

          Name


 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
      trust. Do not list leased or rented property.
      5 None

                 Owner¶s name and address                Location of the property        Description of the property            Value

          21.1                                                                                                              $
                 Name


                 Street




                 City             State      ZIP Code



                 Country




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  Page 15
                         Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 37 of 46
Debtor:     Anagram Holdings, LLC                                                                          Case number (if known):   23-90901

           Name


  Part 12:        Details About Environmental Information
  For the purpose of Part 12, the following definitions apply:
  
          Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
          regardless of the medium affected (air, land, water, or any other medium).
  
          Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
          formerly owned, operated, or utilized.
  
          Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
          or a similarly harmful substance.
  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       5 No

             Yes. Provide details below.

                   Case title                        Court or agency name and address                       Nature of the case                  Status of case

           22.1                                                                                                                                     Pending
                                                     Name
                                                                                                                                                    On appeal
                                                                                                                                                    Concluded
                                                     Street



                  Case Number


                                                     City                State           ZIP Code



                                                     Country


 23.      Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of
          an environmental law?

          5 No

             Yes. Provide details below.

                                                               Governmental unit name and
                  Site name and address                                                                        Environmental law, if known       Date of notice
                                                               address
           23.1
                  Name                                         Name


                  Street                                       Street




                  City              State          ZIP Code    City              State          ZIP Code



                  Country                                      Country




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          Page 16
                         Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 38 of 46
Debtor:    Anagram Holdings, LLC                                                               Case number (if known):   23-90901

           Name

  24.     Has the debtor notified any governmental unit of any release of hazardous material?

          5 No

             Yes. Provide details below.

                  Site name and address                 Governmental unit name and address      Environmental law, if known         Date of notice

           24.1
                  Name                                  Name


                  Street                                Street




                  City        State          ZIP Code   City           State        ZIP Code



                  Country                               Country




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 Page 17
                         Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 39 of 46
Debtor:    Anagram Holdings, LLC                                                                         Case number (if known):        23-90901

           Name


  Part 13:     Details About the Debtor¶s Business or Connections to Any Business
  25. Other businesses in which the debtor has or has had an interest
       List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
       case.Include this information even if already listed in the Schedules.
             None
                                                                                                            Employer Identification number
                  Business name and address                       Describe the nature of the business
                                                                                                            Do not include Social Security number or ITIN.
          25.1 Anagram International, Inc.                       Wholly-Owned Subsidiary                    EIN: XX-XXXXXXX
               Name
                                                                                                            Dates business existed
               7700 Anagram Drive                                                                           From 6/21/1977                      To Current
               Street




               Eden Prairie          MN               55344
               City                  State            ZIP Code



               Country



 26. Books, records, and financial statements

      26a. List all accountants and bookkeepers who maintained the debtor¶s books and records within 2 years before filing this case.

             None

                  Name and Address                                                         Dates of service

          26a.1 See SOFA Question 26a - Part 13 Attachment                                 From                                         To
                  Name


                  Street




                  City                        State                      ZIP Code


                  Country


      List all firms or individuals who have audited, compiled, or reviewed debtor¶s books of account and records or prepared a financial
 26b. statement within 2 years before filing this case.

              None
                      Name and Address                                                 Dates of service

            26b.1 Ernst & Young                                                        From       1998                             To        6/5/2023
                      Name

                      One Manhattan West
                      Street

                      401 9th Ave
                      New York               NY                  10001
                      City                   State               ZIP Code


                      Country




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                 Page 18
                         Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 40 of 46
Debtor:    Anagram Holdings, LLC                                                                   Case number (if known):   23-90901

          Name

  26c. List all firms or individuals who were in possession of the debtor¶s books of account and records when this case is filed.
             None

                                                                                                        If any books of account and records are
                  Name and address
                                                                                                        unavailable, explain why

          26c.1 See SOFA Question 26c - Part 13 Attachment
                  Name



                  Street




                  City                                           State            ZIP Code



                  Country




  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
       statement within 2 years before filing this case.

                 None

                         Name and address

            26d.1 See SOFA Question 26d - Part 13 Attachment
                        Name



                        Street




                        City                                             State          ZIP Code



                        Country



 27. Inventories

      Have any inventories of the debtor¶s property been taken within 2 years before filing this case?

       5 No

            Yes. Give the details about the two most recent inventories.

                                                                                       Date of          The dollar amount and basis (cost, market, or
                 Name of the person who supervised the taking of the inventory
                                                                                       Inventory        other basis) of each inventory
                                                                                                        $


                 Name and address of the person who has possession of inventory
                 records
          27.1
                 Name



                 Street




                 City                  State                 ZIP Code



                 Country




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  Page 19
                           Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 41 of 46
Debtor:     Anagram Holdings, LLC                                                                      Case number (if known):     23-90901

           Name

 28. List the debtor¶s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

                  Name                                     Address                                     Position and Nature of any             % of interest, if any
                                                                                                       interest
                See SOFA Question 28 - Part 13
           28.1 Attachment


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members
     in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

             No

          5 Yes. Identify below.

                                                                                               Position and Nature of        Period during which position or
               Name                                  Address
                                                                                               any interest                  interest was held
                                                                                               Sr. VP and General            From                  To
          29.1 James Wolf                            Address on File                           Manager                               9/1/2022           10/4/2023


  30. Payments, distributions, or withdrawals credited or given to insiders
          Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
          bonuses, loans,credits on loans, stock redemptions, and options exercised?
          5 No
              Yes. Identify below.

                                                                          Amount of money
                    Name and address of recipient                         or description and   Dates                             Reason for providing the value
                                                                          value of property

            30.1
                    Name


                    Street




                    City                     State             ZIP Code


                    Country

                    Relationship to debtor



  31.     Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

             No

          5 Yes. Identify below.

                   Name of the parent corporation                                    Employer Identification number of the parent corporation

           31.1 Party City Holdings Inc.                                            EIN: XX-XXXXXXX


   32.     Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           5 No

              Yes. Identify below.

                     Name of the pension fund                                     Employer Identification number of the pension fund

             32.1                                                                 EIN:




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            Page 20
Part 14:
                   Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 42 of 46
              Signature and Declaration


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.

18 U.S.C.§§ 152, 1341, 1519, and 3571.


I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on       12/12/2023
                    MM / DD / YYYY




      / s / Christopher Wiles
                                                                                    Printed name Christopher Wiles

     Signature of individual signing on behalf of the debtor


     Position or relationship to debtor   Vice President of Finance and Adminstration


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

        No

5       Yes
                       Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 43 of 46

                                                In re: Anagram Holdings, LLC
                                                       Case No. 23-90901
                                         SOFA 26a - Part 13: Accountants and bookkeepers


Name                Address 1               City               State     Zip     Title                            Dates of service
Christopher Wiles   7700 Anagram Drive      Eden Prairie       MN        55344   VP Finance & Admin                  11/4/2002 to Current
Kathy Swendiman     7700 Anagram Drive      Eden Prairie       MN        55344   AP Specialist                       9/29/1997 to Current
Kyle Rude           7700 Anagram Drive      Eden Prairie       MN        55344   Financial Planning Director         9/18/2017 to Current
Nicole Metz         7700 Anagram Drive      Eden Prairie       MN        55344   Financial Analyst                   3/19/2001 to Current
Thomas Jungwirth    7700 Anagram Drive      Eden Prairie       MN        55344   Director,Manufacturing Finance      8/17/2015 to Current
Travis Decker       7700 Anagram Drive      Eden Prairie       MN        55344   Assistant Controller                 4/9/2018 to Current




                                                           Page 1 of 1
              Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 44 of 46

                                           In re: Anagram Holdings, LLC
                                                  Case No. 23-90901
                                                  SOFA 26c - Part 13:
                                 Firms or individuals in possession of books and records

                                                                                           If any books of account
                                                                                           and records are
Name                          Address 1              City                 State   Zip      unavailable, explain why
Anagram International, Inc.   7700 Anagram Drive     Eden Prairie         MN      55344
Christopher Wiles             7700 Anagram Drive     Eden Prairie         MN      55344
Kathy Swendiman               7700 Anagram Drive     Eden Prairie         MN      55344
Kyle Rude                     7700 Anagram Drive     Eden Prairie         MN      55344
Nicole Metz                   7700 Anagram Drive     Eden Prairie         MN      55344
Party City Holdings, Inc.     100 Tice Boulevard     Woodcliff Lake       NJ      07677
Thomas Jungwirth              7700 Anagram Drive     Eden Prairie         MN      55344
Travis Decker                 7700 Anagram Drive     Eden Prairie         MN      55344




                                                      Page 1 of 1
                       Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 45 of 46

                                                  In re: Anagram Holdings, LLC
                                                         Case No. 23-90901
                                                         SOFA 26d - Part 13:
                                       Financial institution to whom financial statement was issued
Name                             Address 1                                  Address 2          City              State   Zip
MNJV BDC, LLC                    c/o Jones Lang Lasalle Americas Inc        7322 Ohms Lane Edina                 MN      55439
Party City Holdings, Inc.        100 Tice Boulevard                                            Woodcliffe Lake   NJ      07677
Sojitz Plastics America Inc      1051 Parimeter Drive                       Suite 810          Schaumburg        IL      60173
Toray Plastics (America), Inc.   50 Belver Avenue                                              North Kingstown   RI      02852




                                                              Page 1 of 1
                               Case 23-90901 Document 250 Filed in TXSB on 12/12/23 Page 46 of 46
                                                            In re: Anagram Holdings, LLC
                                                                   Case No. 23-90901
                                                                     SOFA 28 - Part 13:
                                                   Current Partners, Officers, Directors and Shareholders

                                                                                                            Position and nature of any % of interest,
Name                        Address 1                Address 2     City                 State      Zip      interest                   if any
Adrian Frankum              485 Lexington Avenue     10th Floor    New York             NY         10017    Chief Restructuring Officer
Christopher Wiles           7700 Anagram Drive                     Eden Prairie         MN         55344    Vice President of Finance
Cynthia Mark                7700 Anagram Drive                     Eden Prairie         MN         55344    Vice President
Party City Holdings, Inc.   100 Tice Boulevard                     Woodcliffe Lake      NJ         07677    Controlling Shareholder            100%
Steven Collins              7700 Anagram Drive                     Eden Prairie         MN         55344    Board Member
William L. Transier         Address on File                                                                 Independent Director




                                                                       Page 1 of 1
